                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )        Case No. 3:15-cr-00069
                                                      )        Judge Billy Roy Wilson
GEORGE DAVID GEORGE                                   )        Sitting by Intercircuit Assignment

      MOTION OF DEFENDANT GEORGE DAVID GEORGE FOR A MITIGATED
       SENTENCE AND VARIANCE BELOW THE SENTENCING GUIDELINES

         Defendant George David George comes before the Court for sentencing after having

entered a plea of guilty to counts one through ten of the superseding indictment charging wire

fraud, mail fraud, securities fraud and money laundering. Mr. George submits this sentencing

memorandum to aid the Court in determining an appropriate sentence under 18 U.S.C. § 3553(a).

The U.S. Probation Office has calculated, under the U.S. Sentencing Guidelines, a sentencing

range of 168 to 210 months. 1

         This case originally came to the Court via a Criminal Information evidencing an early

and timely intent to plead guilty. (Docket Entry 1). The first binding plea agreement reached

between the parties under the terms of Rule 11(c)(1)(C) and submitted to the Court on March 8,

2016 called for a sentence of 72 months. (Docket Entries 29 & 30). The District Court rejected

the plea agreement. (Docket Entry 43). A second binding plea agreement calling for a 92-month

sentence was submitted to the Court on June 23, 2016. (Docket Entries 49 & 50). Although the

District Court had the full benefit of the original presentence report at the time the second

binding guilty plea was entered and provisionally accepted, the Court ultimately rejected the

agreement approximately three months later on September 8, 2016. (Docket Entry 59). The

1
 This range is two levels higher than the advisory range suggested by the parties in their Rule 11(c)(1)(B) plea
agreement. The Probation Department has assessed a two-level enhancement, pursuant to § 2B1.1(b)(9)(C), for
violating an administrative cease and desist order. Mr. George has objected to this proposed enhancement in a
separate filing. (Docket Entry 135).



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advisory guideline range in the Revised PSR – roughly 14 to 17.5 years – is clearly

disproportionate to the offense conduct for which Mr. George will be convicted.

       Mr. George respectfully requests that the Court impose a mitigated sentence and variance

below the Guidelines, considering factors under 18 U.S.C. § 3553(a). Defendant George

respectfully suggests that in weighing the factors in § 3553(a), the Court should impose a

mitigated sentence in this case which is below the advisory guideline range calculated in the

presentence report. In United States v. Booker, 543 U.S. 220, 245, 125 S.Ct. 738, 160 L.Ed. 2d

621 (2005), the Supreme Court held that the Sentencing Guidelines were advisory. Accordingly,

“a district court is permitted to vary from those guidelines in order to impose a sentence which

fits the mandate of [§] 3553(a).” United States v. Collington, 461 F.3d 805, 808 (6th Cir. 2006).

                                          Background

       David George was the first-born child into a family that honored devotion to the church

and service. His father was a preacher and his mother was a preacher’s wife. To this day, his

parents remain married and dedicated to their church home where his father still preaches at age

88. David, being the child of a preacher, was expected to live up to high ideals as well. Even as a

child he carried the expectation that his actions were judged and analyzed above others. A

pressure to perform as if on stage – and under a microscope – has shadowed him as long as he

can remember.

                [David] received an excellent education at FHU [Freed Hardeman
                University] and Harding [College Graduate School of Theology],
                etc. He always had a good heart and was a very popular &
                effective preacher. He is especially needed by way of
                encouragement during our declining years. (88 each).

Letter, Malcolm & Verlin George, Parents. (Docket Entry 136, Page ID# 554).




                                                 2

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         David spent his junior high years in Beirut, Lebanon where his parents were missionaries.

Returning to the States, he attended high school where he was chosen “Best All Around” his

senior year and also inducted into the “School Hall of Fame.” He attended Freed Hardeman

University for undergraduate studies. He was president of his freshman and sophomore classes.

He was honored by receiving the “Timothy Award” for the most outstanding graduate of the

university. Five years later, he returned to Freed Hardeman to receive the “Outstanding Young

Alumnus” award. David went on to receive a Masters of Theology spending several years in

ministry and counseling. He taught numerous Bible and Sunday School classes throughout the

years.

         David has been happily married to his wife for 35 years. He is the proud father of four

children and six young grandchildren. He considers them his bedrock and in turn, he is the

cornerstone of the family.

                I am the youngest of his 4 children and have always been [David
                George’s] biggest supporter. I would be very naive in saying that
                my father has never done anything wrong. I know he has made
                several mistakes in his life that I have seen first hand. He has
                always had pressure on him to succeed and live a ‘perfect’ life ever
                since a very young man. I do feel like these ‘pressures’ have forced
                him to make these mistakes. However, I know that I have never
                felt more love than anybody in my life than the love I feel from my
                father. He has always been there for me or anybody else in our
                family.

Letter, Justin George, Son. Id. at Page ID# 552.

                [My father] has been the most influential, caring, loving and kind
                person in my life and my hope is that our boys [his grandsons] will
                also have the chance to know this special man’s heart the way I do.

Letter, Bree Barry, Daughter. Id. at Page ID#553.

         A long-time friend and former WellCity colleague, Chris Tatum, recalls in his letter to

the Court a kindness that David extended to a former WellCity employee.

                                                   3

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              Had this case gone to trial, a man named Mark Roy was scheduled
              to testify against Mr. George. What Your Honor might not have
              learned during the trial is that Mark Roy was homeless when Mr.
              George took him in and gave him a job as a graphic artist, even
              though his skills fell far short of what WellCity needed them to be,
              and despite protests from me and other WellCity team members [,]
              Mr. George also paid for a hotel room for months in which Mr.
              Roy lived. If only more people could be so kind to America’s
              homeless population.
                                        .       .      .
              Despite what Mr. George is accused of; despite the fact that
              WellCity never materialized into the great, one-of-a-kind company
              I believe it could’ve been, I assure you David George’s passion
              was genuine when he launched it.

Letter, Chris Tatum. Id. at Page ID# 577.

                                            VARIANCE

The circumstances of this case are sufficiently extraordinary to warrant a variance/downward
departure based on The Need to Avoid Unwarranted Sentence Disparities Among Defendants
Who Have Been Found Guilty of Similar Conduct; and, The Advisory Guideline Range
Provides No Useful Advice Because it is Not Based on Empirical Evidence or National
Experience and Fails to Promote Any Rational or Legitimate Purpose of Sentencing.

       Booker requires this Court to correctly score an advisory guideline range and then

comply with the entire statutory command of 18 U.S.C. §3553(a) by considering the factors

listed in §3553(a)(1)-(7). This allows the Court to individualize a sentence which is “sufficient

but not greater than necessary.” United States v. Booker, 543 U.S. 220 (2005); United States v.

Cage, 458 F.3d 537, 540 (6th Cir. 2006).

       This Court may, and should, vary its sentence from the advisory guideline range if a

variance sentence meets the requirements of 18 U.S.C. §3553(a). Rita v. United States, 551 U.S.

338 (2007). The court may vary its sentence based on its weighing of one or more of the

§3553(a) factors. United States v. Borden, 365 Fed.Appx. 617, 619, fn. 2 (6th Cir. 2010). This

Court may vary a sentence because it disagrees with the advisory guideline range on general


                                               4

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policy grounds, individualized fact grounds, or because this Court concludes a different sentence

is appropriate regardless of the guideline range. Rita v. United States, 551 U.S. 338, 347-348

(2007). This Court may depart from the advisory guideline range based on the application of a

guideline provision. Id. The same facts and analysis can support both a variance and a departure,

United States v. Grams, 566 F.3d 683, 686-87 (6th Cir. 2009), but a variance is grounded in the

district court’s broader discretion in considering the §3553(a) factors. Irizarry v. United States,

128 S.Ct. 2198, 2202-03 (2008).

           The Guidelines merely provide a “starting point” for the Court’s sentencing

    considerations. Gall v. United States, 532 U.S. 38, 49 (2007); accord Cunningham v.

    California, 549 U.S. 270 (2007). While a sentencing court must consider the Guidelines as a

    starting point, a court should not presume “that the Guidelines range is reasonable.” Gall, 552

    U.S. at 50. Instead the Court is to impose sentence after “mak[ing] an individualized

    assessment based on the facts presented” in each particular case. Id. Moreover, the Court need

    not find “extraordinary circumstances to justify a sentence outside of the Guidelines range.”

    Id. at 47. As one district court judge has put it, the Guidelines’ “most fundamental flaw is the

    notion that the complexity of human character and conduct can be rationally reduced to some

    arithmetic formula.” 2 This is especially true in white collar cases such as this case, where the

    sentencing range is largely determined by escalating loss enhancements pursuant to USSG §§

    2B1.1, an increasingly criticized approach that usually results in draconian advisory

    Guidelines. See, e.g., United States v. Adelson, 441 F. Supp. 2d 506, 512 (S.D.N.Y. 2006)

    (describing “the utter travesty of justice that sometimes results from the guidelines’ fetish with

    abstract arithmetic, as well as the harm that guideline calculations can visit on human beings if

2
 Terry Carter, Rakoff’s stance on the SEC draws fire, praise – and change: The Judge Who Said No, ABA Journal,
Oct. 2013, at 53.
                                                       5

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not cabined by common sense.”); see also United States v. Parris, 573 F. Supp. 2d 745, 754

(E.D.N.Y. 2008) (noting that despite the fact that the Guidelines “reflect Congress’ judgment

as to the appropriate national policy for such crimes . . . this does not mean that the Sentencing

Guidelines for white-collar crimes should be a black stain on common sense” and sentencing

defendant “to a term of incarceration of 60 months in the face of an advisory guidelines range

of 360 to life.”). The Supreme Court’s decisions in Gall, Cunningham, and Kimbrough v.

United States, 552 U.S. 85 (2007), significantly broadened the discretion of courts to impose a

less stringent sentence than the one suggested by the Guidelines, and in this case the Court

should exercise its broad discretion and impose a sentence substantially below the Guidelines

calculated by Probation.

        A.    The Need to Avoid Unwarranted Disparities

        A critical sentencing factor in this case is the need to avoid disparity with the types of

sentences imposed in similar cases. In similar cases, below-Guidelines variances are

substantial and have reflected the belief of many courts, academics, and commentators that the

Guidelines in fraud cases – drive by a mechanical application of the Guidelines’ loss

provisions – result in astronomically high advisory sentencing ranges that bear little relation to

the nature of the offense or the history and characteristics of a defendant.

        The types of sentences imposed in fraud cases beyond this district are instructive and

appropriately considered by the Court. See, e.g., United States v. Doan, 498 F.Supp.2d 816,

820 (E.D.Va. 2007) (“This Court does not dispute the value in looking nationwide to similarly

situated criminal defendants of similar culpability that have committed similar acts resulting in

similar convictions....”).



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     CASE            CONVICTION             LOSS/RESTITUTION    GUIDELINE             SENTENCE
                                                                 RANGE
U.S. v. Naponelli       Guilty Plea:            $3.1 Million                            24 Months
   4:11-3046           Conspiracy to
 D. Ariz. 2013         Commit Bank
                          Fraud &
                       Conspiracy to
                      Commit Money
                        Laundering
 U.S. v. Atwood         Guilty Plea:            $586,000.00     33-41 Months            15 Months
   4:11-3046           Conspiracy to                           (Plea Agreement       (45% of Guideline
 D. Ariz. 2013      Commit Wire Fraud                          Offense Level 20)          Range)
 U.S. v. Jackson        Guilty Plea:            $480,000.00     24-30 Months             6 Months
   4:11-3046           Conspiracy to                           (Plea Agreement        (25% Guideline
 D. Ariz. 2013      Commit Wire Fraud                          Offense Level 17)          Range)
  U.S. v. Fruit         Guilty Plea:            $2.6 Million    46-57 Months            30 Months
   4:11-3046           Conspiracy to                           (Plea Agreement        (65% Guideline
 D. Ariz. 2013         Commit Bank                             Offense Level 23)          Range)
                          Fraud &
                       Conspiracy to
                      Commit Money
                        Laundering
U.S. v. Johnson         Guilty Plea:            $3.8 Million                            48 Months
   3:11-307            Conspiracy to                                                   (Government
N.D. Tex. 2013      Commit Wire Fraud                                                 Recommended)
 U.S. v. Whaley      Trial Conviction:          $2 Million                              60 Months
   3:10-169            Conspiracy to
E.D. Tenn. 2013        Commit Wire
                     Fraud, Wire Fraud
                      & Bank Fraud,
                    False Statements &
                    Money Laundering
 U.S. v. Kerley      Trial Conviction:          $2 Million                              48 Months
   3:10-169            Conspiracy to
E.D. Tenn. 2013        Commit Wire
                       Fraud, Wire &
                    Bank Fraud & False
                         Statements
 U.S. v. Zaleski        Guilty Plea:           $2.5 Million+      70-87 Months          14 Months
    2:09-118           Wire Fraud &                             (Level 27 with 4      (20% Guideline
 E.D. Wis. 2013     Money Laundering                               more levels           Range)
                                                               possibly added for
                                                               role in offense per
                                                                plea agreement =
                                                                108-135 Months)
U.S. v. Hightower       Guilty Plea:            $2 Million        30-36 Months          30 Months
    2:12-114           Conspiracy to                             (Parties Agreed        (Guideline
 S.D. Ohio 2013       Commit Money                                Upon Range)           Sentence)
                        Laundering,
                       Making False
                       Statements to
                    Financial Institution
                         & Money
                        Laundering

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     CASE            CONVICTION            LOSS/RESTITUTION   GUIDELINE           SENTENCE
                                                               RANGE
U.S. v. Williams         Guilty Plea:         $13.8 Million   235-293 Months        120 Months
    3:12-70             Conspiracy to                              (PSR           (51% Guideline
N.D. Fla. 2013          Commit Mail                           Recommended)            Range)
                      Fraud, Mail Fraud
                       & Conspiracy to
                       Commit Money
                         Laundering
U.S. v. M. Kistner       Guilty Plea:          $382,000.00                       3 Years Probation
    2:11-283            Conspiracy to
 S.D. Ohio 2013        Commit Money
                         Laundering
U.S. v. D. Kistner       Guilty Plea           $9.6 Million    121-151 Months       66 Months
    2:11-283            After 4 Days                          (PSR Calculation    (54% Guideline
 S.D. Ohio 2013            of Trial:                            with 2 Points        Range)
                        Conspiracy to                            Contested)
                        Commit Bank
                     Fraud, Conspiracy
                     to Commit Money
                     Laundering & Bank
                            Fraud
  U.S. v. Ennis          Guilty Plea:          $1.7 Million                      3 Years Probation
    2:11-283            Conspiracy to
 S.D. Ohio 2013      Engage in Financial
                        Transaction in
                      Excess of $10,000
                          Involving
                     Criminally Derived
                           Property
  U.S. v. Smith          Guilty Plea:          $318,000.00     18-24 Months      3 Years Probation
    2:11-283            Conspiracy to                                              (0% Guideline
 S.D. Ohio 2013      Engage in Financial                                              Range)
                        Transaction in
                      Excess of $10,000
                          Involving
                     Criminally Derived
                           Property
 U.S. v. Gross           Guilty Plea:          $8.4 Million     51-63 Months        18 Months
    2:12-66              Bank Fraud                           (Plea Agreement)    (36% Guideline
 D. Nev. 2013                                                                        Range)
 U.S. v. Berger         Guilty Plea:           $6.7 Million   292-365 Months        78 Months
   2:09-308            Conspiracy to                                                  (26%
 W.D. Pa. 2012       Commit Wire Fraud                                           Guideline Range)
                      & Conspiracy to
                      Commit Money
                        Laundering
  U.S. v. Long          Guilty Plea:           $1. Million                          21 Months
     12-241            Bank Fraud &
 E.D. Wis. 2013      Money Laundering
  U.S. v. Spady         Guilty Plea:           $1.1 Million                         24 Months
      12-27            Conspiracy to
 D. Minn. 2013       Commit Wire Fraud,
                      False Tax Return

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     CASE            CONVICTION            LOSS/RESTITUTION    GUIDELINE           SENTENCE
                                                                RANGE
  U.S v. Willis          Guilty Plea:          $6.7 Million    97-120 Months         48 Months
   4:11-117             Conspiracy to                                              (49% Guideline
   E.D. Tex.           Commit Money                                                    Range)
                         Laundering                                               (5K 1.1 Departure
                                                                                      Applied)
 U.S. v. Curry          Guilty Plea:           $697,000.00      41-51 Months         41 Months
   2013 WL              Wire Fraud                            (Plea Agreement)       (Guideline
   6501167                                                                            Sentence)
 6th Cir. 2013
U.S. v. Hampton         Guilty Plea:           $142,000.00                           18 Months
 732 F.3d 687          Wire Fraud &
 6th Cir. 2013         Access Device
                          Fraud
   U.S. v. Sims         Guilty Plea:           $2.4 Million     78-97 Months         87 Months
517 Fed. Appx. 439      Bank Fraud                                                   (Guideline
   6th Cir. 2013                                                                     Sentence)
 U.S. v. Holman         Guilty Plea:           $3 Million       33-41 Months         41 Months
     516 Fed.        Money Laundering                                                (Guideline
     Appx.439         & Conspiracy to                                                Sentence)
   6th Cir. 2013     Commit Mail Fraud
 U.S. v. Dowlen       Trial Conviction:        $410,000.00                           37 Months
514 Fed. Appx. 559       Bank Fraud                                                  (Guideline
    6th Cir. 2013                                                                    Sentence)

 U.S. v. Shelton      Trial Conviction:        $3.3 Billion      127 Months          120 Months
   3:02-264          12 Counts Total of                       (Bottom of Range)    (94% Guideline
   D. Conn.          Mail & Wire Fraud,                                                Range)
                     False Statements to
                     SEC, Conspiracy to
                     Commit Securities
                     & Securities Fraud
 U.S v. Whittier         Guilty Plea:          $88 Million                           36 Months
    1:07-87          Securities Fraud &
   S.D. N.Y.         Failure to Disclose
                        Ownership of
                       Publicly Traded
                          Security
   U.S. v. R.            Guilty Plea:          $1 Million       33-41 Months       12 Months & 1
   Singletary           Conspiracy to                                                   Day
 649 F.3d 1212       Commit Wire Fraud                                             (36% Guideline
 11th Cir. 2011            & False                                                    Range)
                      Representations to
                            HUD
   U.S. v. P.            Guilty Plea:          $1 Million       51-63 Months         18 Months
   Singletary           Conspiracy to                                              (35% Guideline
 649 F.3d 1212       Commit Wire Fraud                                                Range)
 11th Cir. 2011            & False
                      Representations to
                            HUD




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     CASE            CONVICTION                LOSS/RESTITUTION     GUIDELINE     SENTENCE
                                                                     RANGE
   U.S. v. Bloom         Conviction:               $665 Million       55-Life     168 Months
    1:12-00409           Wire Fraud
      N.D. Ill.
 Former Sentinel
   Manaegment
   Group CEO
       U.S. v.           Guilty Plea:              $723 Million       43-Life     156 Months
   Illarramendi       Wire, Securities &
    3:11-00041       Investment Advisor
      D. Conn             Fraud &
   Hedge Fund            Conspiracy
  Manager, $723
   Million Ponzi
       Scheme
U.S. v. Greenwood       Guilty Plea:               $554 Million       46-Life     120 Months
    1:09-00722       Conspiracy; Securities,
     S.D.N.Y.        Commodities & Wire
 Co-Founder WG         Fraud & Money
 Trading Co., LP         Laundering
  U.S. v. Adelson       Conviction:              $50-$100 Million     43-Life      42 Months
 441 F.Supp.2d 506      Conspiracy,
  S.D. N.Y. 2006     Securities Fraud &
       CEO of           False Filings
  Public Company
   U.S. v. Ovid         Guilty Plea:               $7 Million+       210 Months    60 Months
       09-216          Conspiracy to
2010 WL 3940724      Commit Securities
  E.D. N.Y. 2010           Fraud
 U.S. v. Campbell       Conviction:                $119 Million      210 Months    24 Months
      1:08-007         Conspiracy to
      M.D. Pa.       Commit Mail Fraud
    U.S. v. Olis        Conviction:                 $79 Million      151 Months    72 Months
       03-217        Securities, Mail &           (Intended Loss)
2006 WL 2716048        Wire Fraud &
  S.D. Tex. 2006        Conspiracy                $714 Million
   Dynegy Tax                                     (Actual Loss)
     Executive
  U.S. v. Livesay        Conviction:                $1 Billion+      78 Months     5 Months
     2:03-0018          Conspiracy to
  N.D. Ala. 2010       Commit Wire &
                      Securities Fraud,
                      Falsifying Books,
                     False Certifications
      U.S. v.            Conviction:               $2.9 Billion       43-Life     120 Months
   Faulkenberry       Securities Fraud,
795 F.Supp.2d 915    Money Laundering
  S.D. Ohio 2010        & Conspiracy
    Founder of
 National Century
     Financial
    Enterprises


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     CASE             CONVICTION            LOSS/RESTITUTION          GUIDELINE        SENTENCE
                                                                       RANGE
  U.S. v. Kumar           Guilty Plea:      $400 Million-$1 Billion      43-Life       144 Months
617 F.3d 612, 634      Securities & Wire
  2nd Cir. 2010       Fraud, False Public
                      Statements to SEC,
                      False Statements to
                              FBI
 U.S. v. I. Jenkins       Conviction:             $9 Million             43-Life       180 Months
633 F.3d 788, 796         Conspiracy,
  9th Cir. 2011        Securities & Wire
                      Fraud, Tax Evasion
                           & Money
                          Laundering
U.S. v. R. Jenkins        Conviction:             $9 Million           324 Months       90 Months
633 F.3d 788, 796         Conspiracy,
  9th Cir. 2011        Securities & Wire
                      Fraud, Tax Evasion
                           & Money
                          Laundering
     U.S. v.              Conviction:            $193 Million            43-Life       180 Months
   Gabayzadeh         Bank & Securities
 428 Fed. Appx.              Fraud
      43, 50
  2nd Cir. 2011
       CEO
  U.S. v. Peppel         Guilty Plea:            $18 Million            97 Months       24 Months
   3:06-00196           Conspiracy to
 S.D. Ohio 2013       Commit Securities,
                      Mail & Wire Fraud
  U.S. Martoma           Conviction:            $283.1 Million         188 Months      108 Months
      12-973           Securities Fraud
2014 WL 4419682       Related to Insider
 S.D. N.Y. 2014            Trading
Portfolio Manager
   U.S. v. Smith         Guilty Plea:            $327 Million            43-Life        27 Months
 181 Fed. Appx.         Conspiracy to
     898, 899          Commit Wire &
  11th Cir. 2006       Securities Fraud
   U.S. v. Turk          Guilty Plea:            $27 Million           121 Months       60 Months
626 F.3d 743, 744       Conspiracy to
  2nd Cir. 2010        Commit Mail &
                         Wire Fraud
  U.S. v. Baker          Conviction:             $756 Million            43-Life       120 Months
2014 WL 3007691        Securities Fraud
 W.D. Tex. 2014
 U.S. v. Manafort        Conviction:            $6.02 Million         235-293 Months    47 Months
   1:18-00083          Bank Fraud, False
  E.D. Va. 2019       Tax Returns, FBAR
 U.S. v. Manfort         Guilty Plea:                                 188-235 Months    60 Months
      17-201          Conspiracy Against
  D.C. Cir. 2019      U.S. & Conspiracy
                      to Obstruct Justice



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       B.      The Advisory Guideline Range Provides Little Useful Advice Because it is Not
               Based on Empirical Evidence or National Experience and Fails to Promote Any
               Rational or Legitimate Purpose of Sentencing.

       The statistics and cases show that Judges are finding that § 2B1.1 produces sentences that

are too severe in many cases. As one district court found “because the fraud offense Guidelines

were promulgated pursuant to Congressional directives rather than by application of the

Sentencing Commission’s unique area of expertise, the court affords them less deference than it

would to empirically-grounded Guidelines.” United States v. Lenagh, 2009 WL 296999, at *6

(D. Neb. 2009). David George asks this Court to also afford them less deference.

               For policy reasons, the Commission did not employ its
               characteristic empirical approach when setting the Guideline
               ranges for white-collar crimes. The Commission found that its
               “study of past sentencing practices revealed that in the
               preguidelines era, sentences for fraud, embezzlement, and tax
               evasion generally received less severe sentences than did crimes
               such as larceny or theft, even when the crimes involved in similar
               monetary loss,” noting that a “large portion of fraud,
               embezzlement, and tax evasion offenders received simple
               probation.” The Commission sought to correct this past under-
               punishment of “white collar” crimes, based on its determination
               that “penalties for some types of crime, such as ‘white collar’
               offenses, were disproportionately low compared to other types of
               theft involving similar economic losses.” Accordingly, the
               Commission drafted guidelines to reduce the availability of
               probation and “to ensure a short but definite period of confinement
               for a larger percentage of these ‘white collar’ cases, both to ensure
               proportionate punishment and to achieve adequate deterrence.” In
               establishing sentences for economic offenses, the Commission
               made the pecuniary loss resulting from the crime a primary
               consideration in determining sentences.

United States v. Lenagh, 2009 WL 296999, at 3 (D. Neb. 2009) (citing United States Sentencing

Commission, Fifteen Years of Guidelines Sentencing (Nov. 2004)) (other citations omitted).

       Although the sentencing commission has acted to adjust the fraud loss table found at §

2B1.1(b), the fundamental deficiency of no supporting empirical evidence still persists. A look at


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the history of the § 2B1.1 guideline shows a level that has continually increased in severity

unsupported by empirical evidence. The defendant submits that the lack of empirical evidence

relating to the goals of sentencing and enhanced punishment in fraud cases should lead this Court

to grant a downward variance. See Kimbrough v. United States, 552 U.S. 85, 89, 128 S. Ct. 558,

563 (2007). When the Commission first created the Sentencing Guidelines in 1987, it stated the

Commission’s view “is that the definite prospect of prison, though the term is short, will act as a

significant deterrent to many of these crimes.” U.S.S.G. § 1.9, Part A(4)(c), Introduction (1987).

The original guideline loss table provided for a 13-level increase for losses over $5 million.

U.S.S.G. § 2B1.1 (1987). The loss table in 1987 was capped at adding 13 levels. Id. In 1998, the

loss table was capped at adding 20 levels. U.S.S.G. § 2B1.1 (1998). In 2001 it was capped at

adding 26 levels. U.S.S.G. § 2B1.1 (2001). Today, the loss table can add up to 30 additional

levels for loss amount. U.S.S.G. § 2B1.1. All of these increases have been done without

empirical support.

       In addition, the fraud guideline was not based on “deterrence.” When the Commission

adopted the original fraud guidelines in 1987, it required confinement for most fraud cases, and

adopted an initial fraud guideline up to 30-37 months for defendants in Criminal History

Category I. See U.S.S.G. § 2F1.1 (1987). The Commission opined that “the definite prospect of

prison, though the term is short, will act as a significant deterrent to many of these crimes,

particularly when compared with the status quo where probation, not prison, is the norm.”

U.S.S.G., Ch. 1, Intro, pt 4(d)(1987); see also U.S. Sentencing Commission, Fifteen Years of

Guidelines Sentencing: An Assessment of How Well the Federal Criminal Justice System is

Achieving the Goals of Sentencing Reform (2004) [hereinafter Fifteen Year Report] (The

Commission sought to ensure that white collar offenders faced “short but definite period[s] of


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confinement”). But the Commission’s “deterrence” rationale was not borne out by empirical

evidence. Empirical research regarding white collar offenders showed no difference between the

deterrent effect of probation and that of imprisonment. See David Weisburd, et. al.; Specific

Deterrence in a Sample of Offenders Convicted of White Collar Crimes, 33 Criminology 587

(1995). Twelve years later, that conclusion remained unchanged. Avi D. Gabbay, Exploring the

Limits of the Restorative Justice Paradigm: Restorative Justice and White Collar Crime, 8

Cardozo J. Conflict Resol. 421, 448-449 (2007) “[T]here is no decisive evidence to support the

conclusion that harsh sentences actually have a general and specific deterrent effect on potential

white-collar offenders.”

       What David George is asking this Court to do – impose a sentence below the guideline

range – would not be uncommon for a court to do in a fraud case such as this. In United States v.

Gupta, the district court of the Southern District of New York imposed a 24-month sentence,

varying below the 78 to 97 month guideline range (a 70% reduction). 904 F. Supp.2d 349

(S.D.N.Y. 2012). The district court was critical of the role the loss calculation played in

calculating the guideline range because he said that “the number assigned by the Sentencing

Commission to various sentencing factors appear to be more the product of speculation, whim or

abstract number-crunching than of any rigorous methodology – thus maximizing the risk of

injustice.” Gupta, 904 F. Supp. 2d at 351. The Court illustrated how the guidelines have

increased with little to no good reason or explanation by explaining that in a case involving a

$12.5 million loss and 250 shareholders in a securities fraud case in 1987, the guideline range

was 30 to 37 months, but in 2003, the same defendant would face a guideline range more than

500% higher – 151 to 188 months. Id. at 351. By focusing so largely on a single factor, “the

Sentencing Commission effectively ignored the statutory requirement that federal sentencing


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take many factors into account, see 18 U.S.C. §3553(a), and, by contrast, effectively guaranteed

that many such sentences would be irrational on their face.” Id.

                                           Conclusion

        For all of the above-stated reasons, Mr. George respectfully requests that the Court

impose a sentence significantly below the advisory Guidelines determined by Probation in this

case.

                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been sent via the Court’s
electronic filing system unless not registered and, in that event deposited in the United States
mail, postage prepaid, to:

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       this 15th day of March, 2019.


                                                     S:/ Peter J. Strianse
                                                     PETER J. STRIANSE




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